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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
ABILENE DIVISION

JAMES LANDERO and JULIE LANDERO, )
)
Plaintiffs, )
)
v. )
)
LIBERTY INSURANCE CORPORATION )
and AARON MOYERS, )
)

Defendants. ) Civil Action No. l :l6-CV-008-C

ORDER

Plaintiffs, J ames Landero and Julie Landero, brought this case against Defendants,
Liberty Insurance Company and Aaron Moyers, in state court on November 18, 2015.
Defendants removed to this Court on January 15, 2016, and the case Was referred to the United
States Magistrate Judge for, among other things, a report and recommendation on Plaintiffs’
motion to remand. The United States Magistrate Judge entered a Report and Recommendation
on June 15, 2016, recommending that the case be remanded Neither party has filed Written
objections Because a motion to remand is a dispositive matter involving the Court’s subject-
matter jurisdiction, the undersigned conducted a de novo review. Davia'son v. Georgia-Pacific,
L.L.C., 819 F.3d 758, 765 (Sth Cir. 2016).

The Magistrate Judge recommended that PlaintifF s motion to remand be granted after
concluding that Defendants had not met their heavy burden of demonstrating that Moyers was
improperly joined. After conducting a de novo review, the undersigned agrees With that

conclusion. The Court is of the opinion that, given the specific factual allegations against

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Moyers in the pleadings, there is a reasonable possibility that Plaintiffs may recover against him
in state court. Therefore, the Court cannot say that Moyers has been improperly joined, and his
inclusion as a party clearly defeats federal diversity jurisdiction See Denley Grp., L.L.C. v.
Safeco lns. C0, oflnd., No. 3215-CV-l l83-B, 20l5 WL 5836226, at *4 (N.D. Tex. Sept. 30,
2015). y

lt is, therefore, ORDERED that the findings and conclusions in the Report and
Recommendation are hereby ADOPTED as the findings and conclusions of the Court, and
Plaintiffs’ Motion to Remand is GRANTED. The above-styled and -numbered civil action is
REMANDED to the 42nd Judicial District Court of Callahan County, Texas, from Which it Was
removed. The Clerk of this Court shall mail a certified copy of this order to the District Clerk of
Callahan County, Texas.

Dated this /5 day of July, 2016. 1

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